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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


BILAL HANKINS                                      CIVIL ACTION NO.: 2:21-CV-001129
VERSUS                                             JUDGE: ELDON E. FALLON

KEVIN WHEELER, RAMON PIERRE and                    MAGISTRATE JUDGE:
CARL PERILLOUX (in their individual and            JANIS VAN MEERVELD
official capacities), THE ORLEANS LEVEE
DISTRICT POLICE, THE HOUSING
AUTHORITY OF NEW ORLEANS, THE
HURSTVILLE SECURITY AND
NEIGHBORHOOD IMPROVEMENT
DISTRICT, and DOE INSURANCE
COMPANIES 1-6


THE LAKEFRONT MANAGEMENT AUTHORITY’S ANSWER AND AFFIRMATIVE
            DEFENSES TO FIRST AMENDED COMPLAINT

       Now into Court, through undersigned counsel, comes Defendant Lakefront Management

Authority ("LMA"), and provides the following answers and Affirmative Defenses to the First

Amended Complaint filed by Plaintiff Bilal Hankins (“Hankins”) as follows:

1.     The allegations contained in Paragraph does not require a response by Defendant LMA.

To the extent a response is required, LMA admits that Plaintiff has asserted a 42 U.S.C. § 1983

claim and associated state law claims.

2.     Defendant LMA denies the allegations contained in Paragraph 2 for insufficient

information to justify a belief therein.

3.     Defendant LMA denies the allegations contained in Paragraph 3 for insufficient

information to justify a belief therein.



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4.      Defendant LMA denies the allegations contained in Paragraph 4 for insufficient

information to justify a belief therein.

5.      Defendant LMA denies the allegations contained in Paragraph 5 for insufficient

information to justify a belief therein.

6.      Defendant LMA denies the allegations contained in Paragraph 6 for insufficient

information to justify a belief therein.

7.      Defendant LMA denies the allegations contained in Paragraph 7 for insufficient

information to justify a belief therein.

8.      Defendant LMA denies the allegations contained in Paragraph 8 for insufficient

information to justify a belief therein.

9.      Defendant LMA denies the allegations contained in Paragraph 9 for insufficient

information to justify a belief therein.

10.     Defendant LMA denies the allegations contained in Paragraph 10 for insufficient

information to justify a belief therein.

11.     Defendant LMA denies the allegations contained in Paragraph 11 for insufficient

information to justify a belief therein.

12.     Defendant LMA denies the allegations contained in Paragraph 12 for insufficient

information to justify a belief therein.

13.     Defendant LMA admits that it is a political subdivision capable of suing and being sued.

Defendant LMA denies the remaining allegations contained in Paragraph 13 and specifically avers

that the LMA did not have authority over or manage the non-flood assets of the Orleans Levee

District at the time of the alleged facts giving rise to this lawsuit.

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14.    Defendant LMA denies the allegations contained in Paragraph 14 for insufficient

information to justify a belief therein.

15.    Defendant LMA denies the allegations contained in Paragraph 15 for insufficient

information to justify a belief therein.

16.    Defendant LMA denies the allegations contained in Paragraph 16 for insufficient

information to justify a belief therein.

17.    Defendant LMA denies the allegations contained in Paragraph 17 for insufficient

information to justify a belief therein.

18.    Defendant LMA denies the allegations contained in Paragraph 18 for insufficient

information to justify a belief therein.

19.    Defendant LMA denies the allegations contained in Paragraph 19 for insufficient

information to justify a belief therein.

20.    Defendant LMA denies the allegations contained in Paragraph 20 for insufficient

information to justify a belief therein.

21.    Defendant LMA denies the allegations contained in Paragraph 21 for insufficient

information to justify a belief therein.

22.    Defendant LMA denies the allegations contained in Paragraph 22 for insufficient

information to justify a belief therein.

23.    Defendant LMA denies the allegations contained in Paragraph 23 for insufficient

information to justify a belief therein.




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24.     The allegations in Paragraph 24 are directed at un-identified insurance companies and do

not require a response by Defendant LMA.

25.     Paragraph 25 contains legal conclusions which do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

26.     Defendant LMA admits the allegations regarding jurisdiction set forth in Paragraph 26.

27.     Defendant LMA admits the allegations regarding venue contained in Paragraph 27.

28.     Paragraph 28 contains legal conclusions which do not require a response.

29.     The allegations in Paragraph 29 are not directed at Defendant LMA and do not require a

response. To the extent a response is required, Defendant LMA admits that Louisiana law allows

for special security districts and that there are multiple law enforcement agencies in the Parish of

New Orleans. LMA denies the remaining allegations for insufficient information to justify a belief

therein.

30.     The allegations in Paragraph 30 are not directed at Defendant LMA and do not require a

response by this defendant. To the extent a response is required, Defendant LMA admits that

Louisiana law allows for special security districts. LMA further avers that the statutes creating

such entities are the best evidence of the application and requirements of such security districts.

LMA denies any allegations contained in Paragraph 30 that contradict Louisiana law regarding the

security districts.

31.     The allegations contained in Paragraph 31 are not directed at Defendant LMA and therefore

do not require a response. To the extent a response is required, Defendant LMA denies the

allegations for insufficient information to justify a belief therein.



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32.     The allegations contained in Paragraph 32 are not directed at Defendant LMA and therefore

do not require a response. To the extent a response is required, Defendant LMA denies the

allegations for insufficient information to justify a belief therein.

33.     The allegations contained in Paragraph 33 are not directed at Defendant LMA and therefore

do not require a response. To the extent a response is required, Defendant LMA denies the

allegations for insufficient information to justify a belief therein.

34.     The allegations contained in Paragraph 34 are not directed at Defendant LMA and therefore

do not require a response. To the extent a response is required, Defendant LMA denies the

allegations for insufficient information to justify a belief therein.

35.     Defendant LMA denies the allegations contained in Paragraph 35 for insufficient

information to justify a belief therein.

36.     Defendant LMA denies the allegations contained in Paragraph 36 for insufficient

information to justify a belief therein.

37.     Defendant LMA denies the allegations contained in Paragraph 37 for insufficient

information to justify a belief therein.

38.     Defendant LMA denies the allegations contained in Paragraph 38 for insufficient

information to justify a belief therein.

39.     Defendant LMA denies the allegations contained in Paragraph 39 for insufficient

information to justify a belief therein.

40.     Defendant LMA denies the allegations contained in Paragraph 40 for insufficient

information to justify a belief therein.



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41.    Defendant LMA denies the allegations contained in Paragraph 41 for insufficient

information to justify a belief therein.

42.    Defendant LMA denies the allegations contained in Paragraph 42 for insufficient

information to justify a belief therein.

43.    Defendant LMA denies the allegations contained in Paragraph 43 for insufficient

information to justify a belief therein.

44.    Defendant LMA denies the allegations contained in Paragraph 44 for insufficient

information to justify a belief therein.

45.    Defendant LMA denies the allegations contained in Paragraph 45 for insufficient

information to justify a belief therein.

46.    Defendant LMA denies the allegations contained in Paragraph 46 for insufficient

information to justify a belief therein.

47.    Defendant LMA denies the allegations contained in Paragraph 47 for insufficient

information to justify a belief therein.

48.    Defendant LMA denies the allegations contained in Paragraph 48 for insufficient

information to justify a belief therein.

49.    Defendant LMA denies the allegations contained in Paragraph 49 for insufficient

information to justify a belief therein.

50.    Defendant LMA denies the allegations contained in Paragraph 50 for insufficient

information to justify a belief therein.




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51.     Defendant LMA denies the allegations contained in Paragraph 51 for insufficient

information to justify a belief therein.

52.     Defendant LMA denies the allegations contained in Paragraph 52 for insufficient

information to justify a belief therein.

53.     Defendant LMA denies the allegations contained in Paragraph 53 for insufficient

information to justify a belief therein.

54.     Defendant LMA denies the allegations contained in Paragraph 54 for insufficient

information to justify a belief therein.

55.     Defendant LMA denies the allegations contained in Paragraph 55 for insufficient

information to justify a belief therein.

56.     Defendant LMA denies the allegations contained in Paragraph 56 for insufficient

information to justify a belief therein.

57.     Defendant LMA denies the allegations contained in Paragraph 57 for insufficient

information to justify a belief therein.

58.     Paragraph 58 contains legal conclusions which do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained in Paragraph 58 for

insufficient information to justify a belief therein.

59.     Defendant LMA denies the allegations contained in Paragraph 59 for insufficient

information to justify a belief therein. Defendant LMA further avers that the OLD-PD manual is

the best evidence of the information contained therein.




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60.    Defendant LMA denies the allegations contained in Paragraph 60 for insufficient

information to justify a belief therein. Defendant LMA further avers that the OLD-PD manual is

the best evidence of the information contained therein.

61.    Defendant LMA denies the allegations contained in Paragraph 61 for insufficient

information to justify a belief therein.

62.    Defendant LMA denies the allegations contained in Paragraph 62 for insufficient

information to justify a belief therein.

63.    Defendant LMA denies the allegations contained in Paragraph 63 for insufficient

information to justify a belief therein.

64.    Defendant LMA denies the allegations contained in Paragraph 64 for insufficient

information to justify a belief therein.

65.    Defendant LMA denies the allegations contained in Paragraph 65 for insufficient

information to justify a belief therein.

66.    Defendant LMA denies the allegations contained in Paragraph 66 for insufficient

information to justify a belief therein.

67.    Defendant LMA denies the allegations contained in Paragraph 67 for insufficient

information to justify a belief therein.

68.    Defendant LMA denies the allegations contained in Paragraph 68 for insufficient

information to justify a belief therein.

69.    Defendant LMA denies the allegations contained in Paragraph 69 for insufficient

information to justify a belief therein.



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70.    Defendant LMA denies the allegations contained in Paragraph 70 for insufficient

information to justify a belief therein.

71.    Defendant LMA denies the allegations contained in Paragraph 71 for insufficient

information to justify a belief therein.

72.    Defendant LMA denies the allegations contained in Paragraph 72 for insufficient

information to justify a belief therein.

73.    Defendant LMA denies the allegations contained in Paragraph 73 for insufficient

information to justify a belief therein.

74.    Defendant LMA denies the allegations contained in Paragraph 74 for insufficient

information to justify a belief therein.

75.    Defendant LMA denies the allegations contained in Paragraph 75 for insufficient

information to justify a belief therein.

76.    Defendant LMA denies the allegations contained in Paragraph 76 for insufficient

information to justify a belief therein.

77.    Defendant LMA denies the allegations contained in Paragraph 77 for insufficient

information to justify a belief therein.

78.    The allegations contained in Paragraph 78 do not pertain to specific allegations regarding

actions taken by defendants named in this litigation; and therefore do not require a response from

Defendant LMA. To the extent a response is required, Defendant LMA cannot admit or deny

allegations regarding Bilal’s intent behind filing this lawsuit.

79.    Paragraph 79 contains a recitation of the allegations set forth in Paragraphs 1-78 of the

Amended Complaint and does not require a response. To the extent a response is required,

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Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-78 set forth above.

80.     Paragraph 80 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA denies

the allegations for insufficient information to justify a belief therein.

81.     Paragraph 81 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA denies

the allegations for insufficient information to justify a belief therein.

82.     Paragraph 82 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA denies

the allegations for insufficient information to justify a belief therein.

83.     Paragraph 83 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA admits

that Bilal has constitutional rights under the Fourth and Fourteenth Amendments.

84.     Paragraph 84 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA denies

the allegations for insufficient information to justify a belief therein.

85.     Paragraph 85 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA denies

the allegations for insufficient information to justify a belief therein.




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86.     Paragraph 86 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA denies

the allegations for insufficient information to justify a belief therein.

87.     Paragraph 87 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

88.     Paragraph 88 contains a recitation of the allegations set forth in Paragraphs 1-87 of the

Amended Complaint and does not require a response. To the extent a response is required,

Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-87 set forth above.

89.     Paragraph 89 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA denies

the allegations for insufficient information to justify a belief therein.

90.     Paragraph 90 does not contain allegations against Defendant LMA and therefore does not

require a response by this defendant. To the extent a response is required, Defendant LMA admits

that Bilal has constitutional rights under the Fourth and Fourteenth Amendments.

91.     Paragraph 91 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

92.     Paragraph 92 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

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93.    Paragraph 93 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

94.    Paragraph 94 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

95.    Paragraph 95 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

96.    Paragraph 96 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

97.    Paragraph 97 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

98.    Paragraph 98 contains a recitation of the allegations set forth in Paragraphs 1-97 of the

Amended Complaint and does not require a response. To the extent a response is required,

Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-97 set forth above.

99.    Paragraph 98 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

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100.    Paragraph 100 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

101.    Paragraph 101 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

102.    Paragraph 102 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

103.    Paragraph 103 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

104.    Paragraph 104 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

105.    Paragraph 105 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

106.    Paragraph 106 contains a recitation of the allegations set forth in Paragraphs 1-105 of the

Amended Complaint and does not require a response. To the extent a response is required,

Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-105 set forth above.

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107.    Paragraph 107 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

108.    Paragraph 108 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

109.    Paragraph 109 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

110.    Paragraph 110 contains a recitation of the allegations set forth in Paragraphs 1-109 of the

Amended Complaint and does not require a response. To the extent a response is required,

Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-109 set forth above.

111.    Paragraph 111 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

112.    Paragraph 112 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

113.    Paragraph 113 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

114.    Paragraph 114 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

115.    Paragraph 115 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

116.    Paragraph 116 contains a recitation of the allegations set forth in Paragraphs 1-115 of the

Amended Complaint and does not require a response. To the extent a response is required,

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Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-115 set forth above.

117.    Paragraph 117 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

118.    Paragraph 118 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

119.    Paragraph 119 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

120.    Paragraph 120 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

121.    Paragraph 121 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

122.    Paragraph 122 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.




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123.    Paragraph 123 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

124.    Paragraph 124 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

125.    Paragraph 125 contains a recitation of the allegations set forth in Paragraphs 1-124 of the

Amended Complaint and does not require a response. To the extent a response is required,

Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-124 set forth above.

126.    Paragraph 126 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

127.    Paragraph 127 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

128.    Paragraph 128 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

129.    Paragraph 129 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

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130.    Paragraph 130 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

131.    Paragraph 131 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

132.    Paragraph 132 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

133.    Paragraph 133 contains a recitation of the allegations set forth in Paragraphs 1-132 of the

Amended Complaint and does not require a response. To the extent a response is required,

Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-132 set forth above.

134.    Paragraph 134 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

135.    Paragraph 135 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

136.    Paragraph 136 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

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137.    Paragraph 137 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

138.    Paragraph 138 contains a recitation of the allegations set forth in Paragraphs 1-137 of the

Amended Complaint and does not require a response. To the extent a response is required,

Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-137 set forth above.

139.    Paragraph 139 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

140.    Paragraph 140 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

141.    Paragraph 141 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

142.    Paragraph 142 contains legal conclusions and is not directed at Defendant LMA, therefore

it does not require a response from this defendant. To the extent a response is required, Defendant

LMA denies the allegations for insufficient information to justify a belief therein.

143.    Paragraph 143 contains a recitation of the allegations set forth in Paragraphs 1-142 of the

Amended Complaint and does not require a response. To the extent a response is required,



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Defendant LMA reasserts and reavers, as if copied herein in extenso, its responses to Paragraphs

1-142 set forth above.

144.    Paragraph 144 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

145.    Paragraph 145 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

146.    Paragraph 146 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

147.    Paragraph 147 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

148.    Paragraph 148 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

149.    Paragraph 149 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

150.    Paragraph 150 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.

151.    Paragraph 151 contains legal conclusions that do not require a response. To the extent a

response is required, Defendant LMA denies the allegations contained therein.
                                AFFIRMATIVE DEFENSES

        AND NOW, IN FURTHER ANSWER to the Amended Complaint, the LMA avers as

follows:




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                              AFFIRMATIVE DEFENSE NO. 1

       The LMA engaged in no conduct and committed no act or omission, either directly or

indirectly, that was or could have been the direct, legal, and/or proximate cause of any damages

asserted by Hankins.

                              AFFIRMATIVE DEFENSE NO. 2

       The LMA owed no duty to Hankins.

                              AFFIRMATIVE DEFENSE NO. 3

       No act or omission by the LMA in any way caused, contributed to, or was a substantial

factor in the damages claimed by Hankins.

                              AFFIRMATIVE DEFENSE NO. 4

       Hankins’ claims are barred, in whole or in part, to the extent they arise from events,

circumstances, conditions, acts, and/or occurrences that were not reasonably foreseeable or were

not reasonably avoidable under the circumstances.

                              AFFIRMATIVE DEFENSE NO. 5

       The LMA asserts the affirmative defense of superseding and/or intervening cause.

                              AFFIRMATIVE DEFENSE NO. 6

       Hankins’ claims arise due to actions of persons or parties other than the LMA and over

which the LMA exercised no legal authority or control.

                              AFFIRMATIVE DEFENSE NO. 7

       In the alternative, and only in the event this Court should find that the Hankins sustained

damages for which the LMA is responsible, which is denied, the LMA specifically pleads that

such damages were caused by the comparative fault and/or negligence of any and all other persons,


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entities, parties, non-parties, or absentee parties, for whom the LMA has no actual or implied

responsibility and for whom the LMA is not legally liable and cannot be held responsible, which

reduces and/or eliminates any fault that may be attributable to the LMA.

                              AFFIRMATIVE DEFENSE NO. 8

       The LMA is entitled to a credit or set-off for any amounts Hankins has recovered or may

recover from other sources for the loss alleged in Amended Complaint.

                                RESERVATION OF RIGHTS

       The LMA expressly reserves its right to supplement, amend and/or modify its Answer by

way of adding denials, defenses and/or affirmative defenses, as more information is discovered,

revealed and/or apparent during discovery or otherwise concerning incidents alleged in Hankins’

Amended Complaint.

       WHEREFORE, after due process is had, Defendant Lakefront Management Authority

prays this Court dismiss Plaintiff Hankins’ claims against the LMA, in full and with prejudice, as

Plaintiff’s cost. The LMA further seeks any and all other relief which may be just and proper in

these circumstances.




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                                             Respectfully submitted,


                                               /s/ Beverly A. DeLaune
                                               Robert E. Kerrigan, Jr. (#07350)
                                               rek@deutschkerrigan.com
                                               Beverly A. DeLaune (#26781)
                                               bdelaune@deutschkerrigan.corn
                                               DEUTSCH ICERRIGAN, L.L.P.
                                               755 Magazine Street
                                               New Orleans, Louisiana 70130
                                               Telephone: 504 581 5141
                                               Facsimile: 504 566 1201

                                               Counsel for Defendant,
                                               Lakefront Management Authority

                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading has been served upon all counsel

through this Court's CM/ECF system and/or placing a copy of same in the U.S. Mail postage

prepaid and properly addressed, this 15th day of July, 2022.



                                                     /s/ Beverly A. DeLaune
                                                     BEVERLY A. DELAUNE




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